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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

WATCHY TECHNOLOGY
PRIVATE LIMITED,

                   Plaintiff,                 C.A. No. 23-462-CFC

       v.                                     JURY TRIAL DEMANDED

DEJERO INC. and DEJERO LABS
INC.,

                   Defendants.

     STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME

      IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff

Watchy Technology Private Limited (“Watchy”) and Defendants Dejero Inc. and

Dejero Labs Inc. (collectively, “Dejero”), through undersigned counsel and subject

to the approval of the Court, that the deadline for Dejero to answer, move, or

otherwise respond to Watchy’s Complaint (D.I. 1) is hereby extended to and

including June 19, 2023.
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Dated: May 17, 2023                      PHILLIPS, MCLAUGHLIN & HALL, P.A.

                                         /s/ John C. Phillips, Jr.
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                                         Attorneys for Plaintiff Watchy
                                         Technology Private Limited


SO ORDERED this ___ day of __________, 2023.



                                           Chief United States District Judge




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